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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

  COBBLESTONE WIRELESS, LLC,
      Plaintiff,
                                          CASE NO. 2:22-cv-00477-JRG-RSP
  v.                                                  (Lead Case)
  T-MOBILE USA, INC.
       Defendant,                         JURY TRIAL DEMANDED
  NOKIA OF AMERICA CORPORATION,
  ERICSSON INC.
       Intervenors.
  COBBLESTONE WIRELESS, LLC,              CASE NO. 2:22-cv-00474-JRG-RSP
       Plaintiff,                                     (Member Case)

  v.                                      JURY TRIAL DEMANDED

  AT&T SERVICES, INC.; AT&T MOBILITY
  LLC; AT&T CORP.,
        Defendants,

  NOKIA OF AMERICA CORPORATION,
  ERICSSON INC.
       Intervenors.
  COBBLESTONE WIRELESS, LLC,              CASE NO. 2:22-cv-00478-JRG-RSP
       Plaintiff,                                     (Member Case)

  v.                                      JURY TRIAL DEMANDED

  CELLCO PARTNERSHIP d/b/a VERIZON
  WIRELESS,
       Defendant,

  NOKIA OF AMERICA CORPORATION,
  ERICSSON INC.
       Intervenors.


              JOINT MOTION TO AMEND DOCKET CONTROL ORDER
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         Plaintiff Cobblestone Wireless, LLC and Defendants T-Mobile USA, Inc., AT&T Services

  Inc., AT&T Mobility LLC, AT&T Corp., and Cellco Partnership d/b/a (collectively, the “Parties”)

  file this Joint Motion to Amend the Docket Control Order (Dkt. No. 124) to request a modest

  extension of the expert discovery, as well as the dispositive and expert briefing, deadlines. Expert

  discovery is currently set to close on June 25, but two of Defendants’ experts have been offered

  for deposition on June 27 and June 28. Although one of these experts was offered for an earlier

  deposition, the parties have agreed to conduct his deposition slightly later in time in order to allow

  for a more efficient, consolidated deposition—this same expert offered similar opinions in another

  case before this Court.

         In order to allow for these two depositions to occur, the parties seek to extend the close of

  expert discovery by three days. To accommodate that extension, the parties further request a

  corresponding three-business-day (five-calendar day) extension for expert and dispositive motions

  and responses. With the requested extension, the briefing on dispositive and expert motions should

  be complete three weeks before the August 21, 2024 Pretrial Conference. For these reasons, the

  parties submit that good cause exists for the requested extensions.

         This extension is not sought for purposes of delay and the parties do not anticipate any

  other deadlines will be affected. A proposed Amended Docket Control Order is attached herewith.
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      Current              New Deadline                              Description
      Deadline

   July 12, 2024     July 17, 2024                *Response to Dispositive Motions (including
                                                  Daubert Motions). Responses to dispositive
                                                  motions that were filed prior to the dispositive
                                                  motion deadline, including Daubert Motions,
                                                  shall be due in accordance with Local Rule CV-
                                                  7(e), not to exceed the deadline as set forth in this
                                                  Docket Control Order. 1 Motions for Summary
                                                  Judgment shall comply with Local Rule CV-56.

   June 28, 2024     July 3, 2024                 *File Motions to Strike Expert Testimony
                                                  (including       Daubert        Motions)

                                                  No motion to strike expert testimony (including a
                                                  Daubert motion) may be filed after this date
                                                  without leave of the Court.

   June 28, 2024     July 3, 2024                 *File Dispositive Motions

                                                  No dispositive motion may be filed after this date
                                                  without leave of the Court.

                                                  Motions shall comply with Local Rule CV-56 and
                                                  Local Rule CV-7. Motions to extend page limits
                                                  will only be granted in exceptional circumstances.
                                                  Exceptional circumstances require more than
                                                  agreement among the parties.

   June 25, 2024     June 28, 2024                Deadline to Complete Expert Discovery




  1 The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure to

  oppose a motion in the manner prescribed herein creates a presumption that the party does not
  controvert the facts set out by movant and has no evidence to offer in opposition to the motion.”
  If the deadline under Local Rule CV 7(e) exceeds the deadline for Response to Dispositive
  Motions, the deadline for Response to Dispositive Motions controls.

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   Dated: June 21, 2024                Respectfully submitted,


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                                       USA, Inc., and Cellco Partnership d/b/a
                                       Verizon Wireless; Intervenor Ericsson, Inc.;
                                       Intervenor Nokia of America Corporation.



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                                      CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing document was filed electronically in

  compliance with Local Rule CV-5(a) and served via email on all counsel of record on this 21st day

  of June 2024.

                                                             /s/ Amy E. Hayden
                                                             Amy E. Hayden


                                CERTIFICATE OF CONFERENCE

         The undersigned hereby certifies pursuant to Local Rule CV-7(h) that the relief requested

  in this motion is jointly sought.

                                                      /s/ Amy E. Hayden
                                                      Amy E. Hayden




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